   Case 24-01530                Doc 13          Filed 02/07/24 Entered 02/07/24 11:05:07                                    Desc Main
                                                  Document     Page 1 of 1



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